                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

                                        NO.5:08-CR-369-FL-2



UNITED STATES OF AMERICA                                  )
                                                          )
                v.                                        )               OPINION
                                                          )
MARCUSSHONNELABROWN                                       )



        This matter came before the court on defendant's motion to determine competency to stand trial,

set for hearing December 17, 2009, which hearing proceeded pursuantto 18 U. S.C. § 4241. After careful

consideration of all the evidence presented, the court found defendant competent to stand trial. This

opinion sets forth more particularly the reasons for this determination.

        In making a competency determination, the court must decide whether defendant has "sufficient

present ability to consult with his lawyer with a reasonable degree ofrational understanding ... and whether

he has a rational as well as factual understanding of the proceedings against him." United States v.

Robinson, 404 F.3d 850, 856 (4th Cir. 2005) (quoting Duskyv. United States, 362 U.S. 402 (1960)).

Here, where defendant contests his own competence, he must show by a preponderance ofthe evidence

that he is not competent. Robinson, 404 F.3dat 856; Medina v. California, 505 U.S. 437, 449 (1992).

        At hearing, defendant called as witnesses his mother and Dr. Lisa B. Feldman, the psychologist

who oversaw his competency evaluation. In particular, the testimony of Dr. Feldman revealed that

defendant displayed a nuanced understanding ofthe legal process throughout his evaluation. In monitored

conversations, defendant spoke ofthe law surrounding his alleged offense in detail and ofthe possible

sentencing consequences he might face as an armed career criminal. There was also evidence that



          Case 5:08-cr-00369-FL           Document 69          Filed 12/18/09       Page 1 of 2
defendant understood the nature ofthe charges against him and the factual scenario in which they arose,

nothwithstanding conduct to the contrary, deemed manipulative and manufactured which conduct itself

supported this determination.

        While defendant has behavioral issues readily apparent ofor relating to his ability to relate to and

interact with others, defendant did not carry the burden ofshowing by a preponderance ofthe evidence

that he is not competent. Defendant can assist his counsel in his defense. In this direction now defendant

shall tum, as the court's attention also turns towards trial of this matter.

        Through counsel, defendant affinned at hearing that no further time for conduct ofdiscovery or filing

ofmotions is necessary. Additionally, defendant's arraignment and trial was continued until the court's

January 2010 term, and any delay resulting from this continuance excluded from the Speedy Trial Act

computation pursuant to 18 U.S.C. § 3161(h)(7)(A) for the reason that the ends ofjustice served by

granting this continuance outweigh the best interests of the public and the defendant in a speedy trial.

        This the 18th day of December, 2009.




                                            __~~.....,UISE W. FLANAG N
                                               Chief United States District Judge




          Case 5:08-cr-00369-FL            Document 69          Filed 12/18/09       Page 2 of 2
